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                             MEMBERS AND OBSERVERS OF THE ENERGY CHARTER CONFERENCE                                                                                                 as of 18 Feb 2019
                                                                                                                                                                                 OBSERVERS (42)
                                                   INTERNATIONAL ENERGY CHARTER 2015 (91)
                                                                                                                                                                                                          Country EEC                       IEC
MEMBERS (56)                                                                                                                                                                                            Bangladesh                      2015
Sig    Rat    EEC    IEC Country                                                                                                                                                                                Benin                   2015
       2013   2006   2015 Afghanistan                                                                                                                                                                 Burkina Faso                      2017
1994   1997   1991   2015 Albania                                                                                                                                                                            Burundi 2015               2015

                                                                        EUROPEAN ENERGY CHARTER 1991 (69)
1994   1997   1991   2015 Armenia                                                                                                                                                                         Cambodia                      2015
1994          1991        Australia                                                                                                                                                                          Canada 1991
1994   1997   1991   2015 Austria                                                                                                                                                                                Chad 2015              2015

                                                                                ENERGY CHARTER TREATY 1994 (56)
1994   1997   1991   2018 Azerbaijan                                                                                                                                                                             Chile                  2015
1994          1991   2015 Belarus                                                                                                                                                                               China                   2015
1994   1998   1991   2015 Belgium                                                                                                                                                                          Colombia                     2015
1995   2001   1995   2016 Bosnia and Herzegovina                                                                                                                                                                  EAC                   2016
1994   1996   1991   2015 Bulgaria                                                                                                                                                                             ECCAS                    2016
1994   1997   1993   2015 Croatia                                                                                                                                                                           ECOWAS                      2015
1994   1998   1991   2015 Cyprus                                                                                                                                                                            Eswatini                    2015
1995   1996   1993   2015 Czech Repulic                                                                                                                                                                    G5 Sahel                     2016
1994   1997   1991   2015 Denmark                                                                                                                                                                            Gambia                     2017
1994   1998   1992   2015 Estonia                                                                                                                                                                        Guatemala                      2016
1994   1998   1991   2015 European Union                                                                                                                                                                     Guyana                     2018
1994   1998   1991   2015 EURATOM                                                                                                                                                                         Indonesia 2009
1994   1997   1991   2015 Finland                                                                                                                                                                                 Iran                  2016
1994   1999   1991   2015 France                                                                                                                                                                                  Iraq                  2016
1994   1995   1991   2015 Georgia                                                                                                                                                                                Italy 1991             2015
1994   1997   1991   2015 Germany                                                                                                                                                                              Kenya                    2017
1994   1997   1991   2015 Greece                                                                                                                                                                                 Mali                   2017
1995   1998   1991   2015 Hungary                                                                                                                                                                        Mauritania 2014                2015
1994   2015   1991        Iceland                                                                                                                                                                           Morocco 2012                2015
1994   1999   1991   2015 Ireland                                                                                                                                                                               Niger 2015              2015
1995   2002   1991   2015 Japan                                                                                                                                                                               Nigeria                   2017
       2018   2007   2015 Jordan                                                                                                                                                                            Pakistan 2005               2015
1994   1995   1991   2015 Kazakhstan                                                                                                                                                                       Palestine 2014               2015
1994   1997   1992   2015 Kyrgyzstan                                                                                                                                                                        Panama                      2017
1994   1995   1991   2015 Latvia                                                                                                                                                                             Rwanda                     2016
1994   1997   1991   2015 Liechtenstein                                                                                                                                                                     Senegal                     2016
                                                        AC




1995   1998   1992   2015 Lithuania                                                                                                                                                                            Serbia 2001              2015
                                                         CED




1994   1997   1991   2015 Luxemburg                                                                                                                                                                   Sierra Leone                      2018
                                                                                                                                                                                                       South Korea                      2015
                                                            ING




1994   2001   1991   2015 Malta
1994   1996   1992   2015 Moldova                                                                                                                                                                               Syria 2010
                                                                                                             IGNATORIES
                                                                CO




       1999   1997   2015 Mongolia
                                                                                                          T S                                                                                              Tanzania                     2015
                                                                   U




                                                                                                        EC
                                                                NTR




       2015   2012   2015 Montenegro                                                                                                                                                                              UAE                   2017
1994   1997   1991   2015 Netherlands                                                                                                                                                                        Uganda                     2015
                                                                  IES




       1998   1996   2015 North Macedonia                                                                                                                                                                         USA 1991              2015
1995          1991   2015 Norway                                                                                                                                                                            Vietnam                     2018
1994   2000   1991   2015 Poland
1994   1997   1991   2015 Portugal
1994   1996   1991   2015 Romania                                                                                                        INTERNATIONAL ORGANISATIONS WITH OBSERVER STATUS
                                                                                                                                               (by decision of the Energy Charter Conference):
1994          1991        Russian Federation
1994   1995   1993   2015 Slovakia
1994   1997   1992   2015 Slovenia
1994   1997   1991   2015 Spain                                                                                                      Association of Southeast       Baltic Sea Region         Black Sea Economic             CIS Electric
1994   1997   1991   2015 Sweden                                                                                                          Asian Nations            Energy Cooperation             Cooperation               Power Council

1994   1996   1991   2015 Switzerland
1994   1997   1991        Tajikistan
1994   2001   1991   2015 Turkey                                                                                            Economic Cooperation       European Bank for       International Atomic         International       International Renewable
1994   1997   1994   2015 Turkmenistan                                                                                          Organization     Reconstruction and Development Energy Agency              Energy Agency             Energy Agency
1994   1998   1991   2015 Ukraine
1994   1996   1991   2015 United Kingdom
1995   1995   1991   2015 Uzbekistan
                                                                                                                                      Organisation for Economic     United Nations Economic    The World Bank        World Trade
       2018   2014   2015 Yemen                                                                                                     Co-operation and Development     Commission for Europe                           Organisation
